IN TIIE UNI'I`EI) STATES I)ISTRICT COURT
ll`OR 'l`I'IE MIDDLE. DISTRICT OF 'I`ENNESSEE

NAsnvILLE mvlsloN
BILLY cRUsENBERRY, )
Plainafr, §
V. )
3 cAsE No. 3112-cv-1170
HARTFORD mm AND AchI)EN'r 5
INSURANCE coMPANY, §
Dcfendant. )
)

.IOINT STIPULATION OF I)ISMISSAL WITH PREJUDICE

COME NOW the Plainliff, Billy Cl‘usenbei‘ry (“Plainlil`[”), and Defendant,

Hai~tford Life and Accident Insuranee Company (“Defendant”), by and through

their undersigned eounsel, and agree and stipulate that the above»styled action and

all claims contained therein should be dismissed with prejudice against Defendant

with By:eaWoL-/ beal its own eosts.

Pelei T. Skeie

315 Deaderick Street
Suile 1220
Nashville, TN 37238

Attorney for Plaintiff Biily Cl‘usenberry

02593 539.\

WllllainB Wahlheim J1.

Graee R. Mulphy '

Andi'ea D. Gei'many

Maynai'd Coopcr & Gale, P.C.

1901 Sixth Avenue North, Suite 2400
Birmingham, AL 35203-2618
Attorneys for Hartfoi'd Lif`e
Aceidenl Insurance Company

and

Marshall '1`. Cook, BPR #20028
Bone, McAflester & Noi'ton, PLLC
131 Saudersville Road, Suite 130
Hendersonviiie, 'l`N 37075

Case 3:12-cv-0117O Document 10 Filed 08/26/13 Page 1 of 1 Page|D #: 55

